                                                                                                     Electronically Filed - Cole Circuit - October 15, 2019 - 03:22 PM
               IN THE CIRCUIT COURT OF COLE COUNTY, MISSOURI


62ND & 65TH REGIMENTS LEGACY                          )
FOUNDATION INC. f/n/a LINCOLN                         )
UNIVERSITY FOUNDATION INC.                            )
                                                      )
                                                      )
       Plaintiff,                                     )       Case Number: 19AC-CC00203
                                                      )
v.                                                    )       INJUNCTIVE RELIEF
                                                      )       REQUESTED
                                                      )
BOARD OF CURATORS OF                                  )       JURY TRIAL DEMANDED
LINCOLN UNIVERSITY                                    )
                                                      )
                                                      )
       Defendant.                                     )

                              VERIFIED AMENDED PETITION

       COMES NOW, Plaintiff 62nd & 65th Regiments Legacy Foundation Inc., f/n/a Lincoln

University Foundation Inc. (“Foundation”), and for its Verified Petition against Defendant, the

Board of Curators of Lincoln University (“University”) states and alleges as follows:

                                        INTRODUCTION

       For nearly half a century the Foundation has served Lincoln University by raising and

disbursing donor funds for scholarships for University students and in support of University

initiatives and activities. Over the course of this time and in partnership with over half a dozen

University administrations, the Foundation has raised and disbursed millions of dollars for the

direct support of the University and its students.

       The Foundation and Lincoln University entered into a 2015 Amended Memorandum of

Understanding whereby the University would provide administrative and general support

services to the Foundation to assist the Foundation in continuing to solicit, manage and disburse

donor funds for the benefit of students and the University. The Foundation brings this Petition to




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recover all Foundation documents, information, and assets, including approximately $667,000 in

Foundation special-purpose funds that the University wrongfully removed and retains: (1) in

breach of its agreements with the Foundation and donors; and (2) in breach of the covenant of

good faith and fair dealing. The Foundation further seeks an order requiring that the University

immediately cease and desist use of all Foundation donor information and documents.

                                           PARTIES

       1.     The Foundation is a nonprofit corporation organized under the Missouri Nonprofit

Corporation law pursuant to Chapter 355 of the Revised Statutes of Missouri, 2017. It solicits,

secures and stewards donor gifts in support of the education, research and community activities

of Lincoln University.

       2.     The Board of Curators for Lincoln University is a public governmental body

established and organized under Missouri law and is the governing body of Lincoln University.

       3.     Lincoln University is a historically black public land-grant university located in

Jefferson City, Missouri, and was founded by soldiers and officers of the 62nd and 65th United

States Colored Infantry at the close of the American Civil War.

                                    JURISDICTION AND VENUE

       4.     This Court has personal jurisdiction over Defendant because Defendant is

principally located in Cole County, Missouri.

       5.     Venue is proper in this Court because a substantial part of the events giving rise to

the claim occurred in Cole County, and Defendant is subject to this Court’s personal jurisdiction.

                                                 FACTS

       A. Memorandum and Understanding Between the University and the Foundation

       6.     On September 10, 2015, the Foundation and the Board of Curators of Lincoln



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University entered into an Amended Memorandum of Understanding (“Agreement”) to facilitate

fundraising for the University and student scholarships. Exhibit (“Ex.”) A (September 10, 2015

Memorandum of Understanding).

       7.      The Agreement replaced an existing memorandum of understanding that had been

in place since 2000, which provided that the University would provide administrative support to

the Foundation for purposes of providing scholarships to students and financial support to the

University.

       8.      Under the terms of the Agreement, the Foundation would serve as “the primary

external fundraising entity of the University and its Curators.”

       9.      Among other things, the Agreement details the obligations both parties agreed to

in order to raise, manage and disburse funds for the University and its students.

       10.     The University agreed to provide three distinct categories of support to the

Foundation pursuant to the Agreement. The categories included: (1) Physical Facilities; (2)

General Administrative Support; and (3) Financial Administrative Support.

       11.     First, the University agreed to provide physical facilities to the Foundation. To

this end, the University provided the Foundation with “(1) office space; (2) local telephone

service; (3) utilities; (4) office furniture; (5) other such facilities as may be necessary from time

to time.”

       12.     Second, the University agreed to provide the Foundation with general

administrative support. General administrative support included, among other things,

maintaining “accurate and complete Foundation files”; managing “Foundation-sponsored

scholarships”; and handling “correspondence, research, and other Foundation business.”

       13.     Finally, the University also agreed to provide financial administrative support.



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This category of support included: “receiving and processing deposits”; processing

“disbursement vouchers”; preparing “disbursements”; distributing “financial statements to

account contacts quarterly”; and “maintaining accurate and complete financial records.”

       14.    Financial administrative support also included, among other things, “maintaining

and updating financial binders;” responding “to inquiries by donors, account contacts,

accountants, Blackbaud computer software personnel, credit card representatives, etc.;”

maintaining and updating “Blackbaud ‘The Raisers Edge’ computer software system for donor

record management;” preparing and distributing “donor thank you cards and tax receipts;” and

overseeing the “credit card donation system.”

       15.    As part of the Agreement, the Foundation reimbursed the University for a

“mutually agreed upon percentage of any services provided to the Foundation by the University

personnel.”

       16.    Under the terms of this Agreement, the University was acting as the Foundation’s

agent and had a fiduciary duty to the Foundation with respect to matters that were within the

scope of the University’s agency.

       17.    Within months of becoming President of Lincoln University, in June 2018, Dr.

Woolfolk sought to change the Agreement. On November 16, 2018, Dr. Woolfolk sent a letter to

Hardy Dorsey, President of the Foundation, requesting a meeting on November 29, 2018 to

discuss “the relationship between Lincoln University and the Lincoln University Foundation,

Inc.” and her “proposal to mutually agree upon an Affiliation Agreement that seeks to improve

that relationship.” Ex. B (November 16, 2018 Letter from J. Woolfolk to H. Dorsey).

Specifically, Dr. Woolfolk desired to “transfer[] funds from the Foundation to the University.”

Ex. B; see also Ex. D (Letter from Dr. J. Woolfolk to H. Dorsey with proposed Memorandum of



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Understanding attached).

       18.      Dr. Woolfolk concluded her letter with a recognition that her letter might be

“unsettling.”

       19.      Less than a month after Dr. Woolfolk’s letter requesting a meeting to renegotiate

the Agreement, the Chair of the University Board of Curators sent Mr. Dorsey a letter on

December 14, 2018 notifying him of the termination of the Agreement effective December 31,

2018. Ex. C (December 14, 2018 Letter from M. Teer to H. Dorsey).

       20.      On January 17, 2019, Dr. Woolfolk provided the Foundation with a proposed

Memorandum of Understanding, signed by her. Ex. D. Dr. Woolfolk requested that “[t]he

signed Memorandum of Understanding” be returned to her “no later than February 18, 2019.”

Dr. Woolfolk’s new memorandum provided that the Foundation “earmark annually 50% of its

unrestricted funds for use by the President and shall transfer those funds annually to the

President’s discretionary fund …” Ex. D.

       21.      The Foundation responded to Dr. Woolfolk’s proposed plan of action with a letter

from its President on February 15, 2019 requesting a meeting to “fully discuss the relationship.”

Ex. E (February 15, 2019 Letter from Dorsey to Woolfolk).

       22.      On February 20, 2019, Jacqueline Shipma, Counsel for the University, sent Dorsey

a letter titled “Cease & Desist.” Ex. F (Letter from Shipma to Dorsey, February 20, 2019). The

“Cease & Desist” letter notified the Foundation that the proposed offer to renegotiate the

Agreement expired on February 18, 2019 and that “[b]ecause the Foundation rejected that offer

[Woolfolk’s proposed MOU], the University is ceasing all administrative services on behalf of

the Foundation effective end of business March 22, 2019.”




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             B. Transfer of Approximately $667,000 from the Foundation to University

       23.      Approximately eight (8) days after the University’s counsel notified the

Foundation that all administrative services provided by the University would be terminated, the

University, in consultation with Joseph Simmons, who at that time was a Foundation board

member, transferred approximately $667,000 from Foundation bank accounts to University bank

accounts in violation of the Foundation’s established procedures for the transfer of special

purpose funds.

       24.      On or about February 28, 2019, approximately $667,000 was transferred from

Foundation bank accounts to University bank accounts in the following amounts: (1) check No.

12697 was written in the amount of $71,932.35; (2) check No. 12698 was written in the amount

of $224,313.12; (3) check No. 12702 was written in the amount of $90,754.06; and (4) check No.

12704 was written in the amount of $280.173.52. Each check was written on the same day,

made payable to the same account, and invoiced with the same description which read “Moving

Funds to LU Fund.”

       25.      These large transfers were uncommon transfers for the Foundation as generally

transfer amounts were smaller dollar amounts, usually a couple thousand dollars but no more

than $10,000.00. Moreover, these transfers contravened long-standing Foundation procedures.

       26.      In transferring the funds to University, Joseph Simmons acted in violation of

Foundation procedures and beyond the scope of his authorization in that he: (1) transferred the

$667,000 in funds without receiving requests that specified the purpose for which the funds were

being transferred; and (2) issued checks in excess of $10,000 without notifying any other board

member of the transfers. Mr. Simmons was never authorized to transfer $667,000 in Foundation

funds to the University for an unspecified purpose without informing any other Foundation board



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member.

       27.    The Foundation’s officers and other board members did not become aware of

these unauthorized transfers until on or about March 8, 2019. The Foundation’s counsel, James

Tippin, then sent a letter to Mr. Simmons requesting that he, among other things, explain the

basis for the transfers and the reasons for the secrecy surrounding the transfers. See Ex. J

(March 8, 2019 Letter from J. Tippin to J. Simmons regarding unauthorized transfers). The

Foundation has never received any response to its letter.

       28.    On March 22, 2019, at the direction of the Foundation President and with the full

consent of the Foundation Board, the Foundation’s counsel sent Mr. Simmons a letter informing

him that he had “been removed from the Foundation Board of Directors.” Ex. K (March 22,

2019 Letter from J. Tippin to J. Simmons regarding removal from Board of Directors). Mr.

Simmons’ removal was in response to his unauthorized transfer of over $667,000 of Foundation

funds to the University.

       29.    On or about, March 15, 2019, approximately two weeks after Mr. Simmons made

the unauthorized transfers of funds from the Foundation to the University, he “was hired by

Lincoln University as a casual, part-time employee . . . [to work] on special projects as assigned

by the president.” Ex. L (April 13, 2019, Jefferson City News Tribune Article, “Lincoln

University rehires administrator on part-time basis). Mr. Simmons was to be paid $14,000 for

his work on “special projects.” Ex. L

       30.    The $667,173.05 in funds were transferred from Foundation accounts that,

pursuant to agreements entered into by donors, the Foundation, and the University, were to be

established within the Foundation and were to be administered by the Foundation (“Donor

Agreements”). See Ex. G (four sample written Donor Agreements) (filed under seal). Some of



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the Donor Agreements were formalized in written memoranda of understanding and others were

to be administered based on oral agreements.

       31.    On or about May 13, 2019, the Greater Kansas City Lincoln University Alumni

Association sent a letter to Dr. Woolfolk requesting that “all funds of the Greater Lincoln

University Alumni Association, endowed, unrestricted, special or any other category . . . remain

or be returned to the 62nd and 65th Regiments Legacy Foundation Inc.” See Ex. M (May 13,

2019 Letter from R. Coleman, President of Greater Kansas City Alumni Association, to Dr. J.

Woolfolk regarding Kansas City Alumni Chapter donations).

       32.    On or about May 18, 2019, the Lincoln University Atlanta Alumni Chapter, Inc.

sent a letter to Dr. Woolfolk stating: “We have no direct deposits made to the university unless

they are authorized transfers of funds from the Foundation to the University or other account

holders in the foundation by the chapter. As such, if any funds have been removed from any of

our foundation accounts to the university without our authorization, they are to be returned

immediately without question.” Ex. N (May 18, 2019 Letter from Dr. S. Bonds, President of

Lincoln University Atlanta Alumni Chapter, to Dr J. Woolfolk regarding Atlanta Alumni

Chapter donations). As a result of the unauthorized February 28, 2019 transfers, the University

received in excess of $9,000 in Atlanta Alumni Chapter donations in breach of donor

agreements. Ex. N

       33.    On June 5, 2019, The National Lincoln University Alumni Association wrote Dr.

Woolfolk instructing that “all funds of the Lincoln University Alumni Association, Inc.

(endowed, unrestricted, special or any other category) are to remain or be immediately returned

to the 62nd & 65th Regiments Legacy Foundation, Inc.” Ex. O (June 5, 2019 Letter from J.

Johnson, National President for Lincoln University Alumni Association (“LUAA”), Inc., to Dr.



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J. Woolfolk regarding LUAA donations).

             C. The Foundation’s Request for the Return of Foundation Documents.

       34.     On March 22, 2019, James Tippin, the Foundation’s counsel and a former

longtime Foundation board member, sent a letter to the University on behalf of the Foundation

requesting that the University deliver all Foundation documents, information and property that

was in the University’s possession to the Foundation. See Ex. H (March 22, 2019 Letter from J.

Tippin to J. Shipma regarding the return of Foundation property). The requested documents,

information and property, included but was not limited to: (1) the Foundation’s donor list, donor

history and donor database; (2) Foundation bank statements; (3) financial records such as tax

returns and independent audits; (4) computer software used for financial management; and (5)

memoranda of understanding between the Foundation and its donors. The Foundation requested

“[a]n accounting for all disbursements from those transferred funds, to include but not limited to

supporting documents.” The Foundation further requested that the University confirm that it had

not retained any of the Foundation’s donor information or documents.

       35.     On April 2, 2019, Shipma responded by letter to the Foundation’s March 22, 2019

letter. Ex. I (April 2, 2019 Letter from J. Shipma to J. Tippin). The letter stated that “for a

variety of legal and other reasons,” the University would not be able to certify that it “has not

retained information on donor records as most of the records also involve the University” and

that the request for resolutions and other Board of Curator action “are closed records under” the

Sunshine Law.

       36.     On April 8, 2019, the University sent Mr. Tippin an email supplementing its

responses in its April 2, 2019 letter. The email noted that the University had provided copies of

some of the requested documents to the Lincoln University Police Department for the



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Foundation’s retrieval.

       37.    The University produced some, but not all the documents responsive to the

Foundation’s March 22, 2019 request. The University’s document production failed to include,

among other things, (1) the Foundation’s donor list; (2) information sufficient for it to access the

Raiser’s Edge database (software that was purchased with Foundation funds), which is the donor

and fundraising management system that is used to manage all of the Foundation’s fundraising

and disbursements; and (3) documents and information sufficient to fully account for the

transferred funds.

       38.    On April 29, 2019, the Foundation’s counsel renewed the Foundation’s requests

that: (1) all documents and information belonging to the Foundation be immediately delivered to

the Foundation; and (2) the University agree not to use or retain any Foundation documents or

donor information.

       39.    As a result of the University’s failure to fully comply with the Foundation’s March

22, 2019 and April 29, 2019 requests, the Foundation was unable to: (1) establish administrative

functions to continue its work fundraising and supporting the University and its students; and (2)

fully account for the $667,173.05 transfer of Foundation special purpose funds to the University

Advancement Office.

                             Count I (Breach of Donor Agreements)

       40.    Plaintiff reincorporates by reference the allegations contained in paragraphs 1

through 39 above as if fully set forth herein.

       41.    The University entered into Donor Agreements with the Foundation and

Foundation donors for the establishment of special purpose funds to be held within the

Foundation.



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       42.    Under the terms of the Donor Agreements, the Foundation and the University

further agreed that: (1) the funds would be administered by the Foundation; and (2) the funds

would be utilized for the purpose that was specified in the Donor Agreements.

       43.    The University breached the Donor Agreements by: (1) improperly inducing Mr.

Simmons to transfer $667,173.05 of Foundation funds, which were being administered pursuant

to the terms of the Donor Agreements, to the University; and (2) improperly accepting

$667,173.05 of funds, which were being administered by the Foundation pursuant to the terms of

the Donor Agreements, into University bank accounts.

       44.    The Foundation and donors had performed all of their duties, obligations and

conditions precedent under the terms of the Donor Agreements.

       45.    The University failed to perform its obligations under the terms of the Donor

Agreements when it improperly induced Mr. Simmons to transfer $667,173.05 of special

purpose funds that were held pursuant to Donor Agreements and improperly accepted the

transfer of those funds into University accounts.

       46.    The University’s failure to perform its obligations damaged the Foundation in that

it: (1) has caused the Foundation to be deprived of the $667,173.05 in donor funds; (2) has

caused the Foundation to be unable to fulfill its obligation to administer those funds pursuant to

the terms of the Donor Agreements; and (3) has disrupted the Foundation’s ability to continue its

operations and raise funds.

       47.    The Foundation has suffered damages as a direct result of Defendant’s breach of

the Donor Agreements in excess of $25,000 which will be proven at trial.

               WHEREFORE, the Foundation prays for judgment against the University in

Count I herein in a sum in excess of Twenty-Five Thousand Dollars ($25,000), for direct,



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consequential, incidental damages, and punitive damages, for attorneys’ fees and costs incurred

herein, for pre-judgment and post-judgment interest, and for such other and further relief as the

Court deems just and proper.

                              Count II (Breach of Foundation Agreement)

       48.    Plaintiff reincorporates by reference the allegations contained in paragraphs 1

through 47 above as if fully set forth herein.

       49.    The University entered into the Agreement with the Foundation in which the

University agreed to provide the Foundation administrative support for the purpose of

fundraising for the benefit of the University and its students.

       50.    In exchange for the University’s agreement to provide administrative support, the

Foundation agreed to solicit and raise funds in support of the University and its students and to

reimburse the University for a percentage of the cost of the administrative services that

University staff provided to the Foundation.

       51.    The Foundation performed all of its duties, obligations and conditions precedent

under the terms of the Agreement.

       52.    The University failed to perform its obligations under the Agreement when it

unilaterally terminated its agreement with the Foundation and failed to provide the administrative

support necessary to transfer the documents and information belonging to the Foundation, as the

Foundation requested in letters of March 22, 2019 and April 29, 2019.

       53.    The University further failed to perform its obligations under the Agreement by

failing to make any effort to responsibly transition administrative responsibilities to Foundation.

       54.    The University’s failure to perform its obligations damaged the Foundation in that

it has caused the Foundation to be unable to: (1) disburse scholarships to deserving University



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students; (2) continue its fundraising operations; (3) account for donor gifts that were entrusted

to the Foundation; (4) communicate with its donors; and (5) administer approximately $667,000

in special purpose donations that the University wrongfully removed from Foundation bank

accounts.

       55.     The Foundation has suffered damages as a direct result of the University’s breach

of the Agreement in excess of $25,000 which will be proven at trial.

               WHEREFORE, the Foundation prays for judgment against the University in

Count II herein in a sum in excess of Twenty-Five Thousand Dollars ($25,000), for direct,

consequential, incidental damages and punitive damages, for attorneys’ fees and costs incurred

herein, for pre-judgment and post-judgment interest, and for such other and further relief as the

Court deems just and proper.

             COUNT III (Breach of Implied Covenant of Good Faith and Fair Dealing)

       56.     Plaintiff reincorporates by reference the allegations contained in paragraphs 1

through 55 above as if fully set forth herein.

       57.     As set forth above, the Foundation entered into the Agreement and performed its

obligations under the terms of the Agreement.

       58.     The Agreement imposes on each party a duty of good faith and fair dealing in its

performance.

       59.     The University breached its duty of good faith and fair dealing by: (1) unilaterally

terminating its agreement with the Foundation and failing to provide the administrative support

necessary to transfer the documents and information belonging to the Foundation to the

Foundation, as requested in the Foundation’s March 22, 2019 and April 29, 2019 letters; and (2)

failing to perform its obligations under the Agreement by seeking to retain and use Foundation



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donor information, documents, and approximately $667,000 in donor funds.

       60.    The University exercised judgment and discretion conferred by the Agreement in

such a manner as to evade the spirit of the transaction or so as to deny the Foundation the

expected benefit of the Agreement.

       61.    As a direct result of the University’s breaches of the Agreement and the implied

covenant of good faith and fair dealing, the Foundation is damaged in an amount in excess of

$25,000.

               WHEREFORE, the Foundation prays for judgment against the University in

Count III herein in a sum in excess of Twenty-Five Thousand Dollars ($25,000), for direct,

consequential, incidental damages, and punitive damages, for attorneys’ fees and costs incurred

herein, for pre-judgment and post-judgment interest, and for such other and further relief as the

Court deems just and proper.

                                        Prayer for Relief

       WHEREFORE, the Foundation prays for judgment against the University in Counts I

through III herein in a sum in excess of Twenty-Five Thousand Dollars ($25,000) for each, for

direct, consequential, incidental, and punitive damages, for attorneys’ fees and costs incurred

herein, for pre-judgment and post-judgment interest, and for such other and further relief as the

Court deems just and proper.

       The Foundation further prays that Lincoln University be temporarily, preliminarily, and

permanently enjoined and restrained from: (1) retaining, using or disclosing any documents or

information it has obtained as a result of performing its obligations under the Agreement; (2)

withholding the Foundation’s documents, information and assets currently in its possession from




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the Foundation; and (3) expending any of the $667,173.05 in Foundation special-purpose funds

that were transferred into a University account in February.



Dated: October 15, 2019                              Respectfully submitted,

                                                     DOWD BENNETT, LLP

                                                     By: \s\ Gabriel E. Gore_________
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                                                     Attorneys for Plaintiff 62nd & 65th Legacy
                                                     Regiments Foundation




                                CERTIFICATE OF SERVICE

       I hereby certify that on October 15, 2019, a true and correct copy of the foregoing was

served on all counsel of record via the Missouri Court’s electronic filing system.



                                             \s\ Gabriel E. Gore




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   EXHIBIT A




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